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                                                                                                               UNITED STATE DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF MICHIGAN
                                                                                                                    SOUTHERN DIVISION

                                                                                          LEAGUE OF WOMEN VOTERS
                                                                                          OF MICHIGAN, ROGER J. BRDAK,
                                                                                          FREDERICK C. DURHAL, JR.,                Case No. 2:17-cv-14148
                                                                                          JACK E. ELLIS, DONNA E.
                                                                                          FARRIS, WILLIAM “BILL” J.                Hon. Eric L. Clay
                                                                                          GRASHA, ROSA L. HOLLIDAY,                Hon. Denise Page Hood
                                                                                          DIANA L. KETOLA, JON “JACK”              Hon. Gordon J. Quist
                                                                                          G. LASALLE, RICHARD “DICK”
                                                                                          W. LONG, LORENZO RIVERA
                                                                                          and RASHIDA H. TLAIB,

                                                                                                      Plaintiffs,
DYKEMA GOSSETT PLLC • Capitol View, 201 Townsend Street, Suite 900, Lansing, MI 48933




                                                                                          v.

                                                                                          RUTH JOHNSON, in her official
                                                                                          Capacity as Michigan
                                                                                          Secretary of State,

                                                                                                      Defendant.

                                                                                               THE MICHIGAN SENATE’S AND THE MICHIGAN SENATORS’
                                                                                                               NOTICE OF APPEAL

                                                                                                Pursuant to 28 U.S.C. § 1253 and 28 U.S.C. § 2101(b), the Michigan Senate

                                                                                          and Michigan State Senators Jim Stamas, Ken Horn, and Lana Theis appeal to the

                                                                                          United States Supreme Court this Court’s April 25, 2019 Order and Final

                                                                                          Judgment (ECF Nos. 268 and 269).
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                                                                                                                                   Respectfully submitted,

                                                                                                                                   DYKEMA GOSSETT PLLC


                                                                                          Date: April 30, 2019                 By: /s/ Jason T. Hanselman
                                                                                                                                 Gary P. Gordon (P26290)
                                                                                                                                 Jason T. Hanselman (P61813)
                                                                                                                                 Counsel for Senate Intervenors
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                                                                                                                           CERTIFICATE OF SERVICE

                                                                                                   I hereby certify that on April 30, 2019, I electronically filed the foregoing

                                                                                          document with the Clerk of the Court using the ECF system which will send

                                                                                          notification of such filing to counsel of record. I hereby certify that I have mailed

                                                                                          by United States Postal Service the same to any non-ECF participants.


                                                                                                                                           By: /s/ Jason T. Hanselman
                                                                                                                                             Gary P. Gordon (P26290)
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